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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 11-cr-118 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     ANTONIO SANCHEZ-GAONA,                              RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable MORRISON C. ENGLAND, JR.

17             Defendant, ANTONIO SANCHEZ-GAONA, by and through his attorney, Assistant
18   Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and

19   through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On March 7, 2013, this Court sentenced Mr. Sanchez-Gaona to a term of 97

25   months imprisonment;

26             3.         Mr. England’s total offense level was 30, his criminal history category was II, and

27   the resulting guideline range was 108 to 135 months. He received a reduction from the statutory

28   mandatory minimum on the government’s motion;

     Stipulation and Order Re: Sentence Reduction          1
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1              4.         The sentencing range applicable to Mr. Sanchez-Gaona was subsequently lowered
2    by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Sanchez-Gaona’s total offense level has been reduced from 30 to 28, and his
5    amended guideline range is 87 to 108 months. A reduction comparable to the one he received
6    initially yields a term of 70 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Sanchez-Gaona’s term of imprisonment to 70 months.
9    Respectfully submitted,
10   Dated: August 26, 2015                             Dated: August 26, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/_Jason Hitt______                              /s/ Hannah R. Labaree __
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           ANTONIO SANCHEZ-GAONA
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Sanchez-Gaona is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 30 to 28, resulting in an amended
6    guideline range of 87 to 108 months. A reduction comparable to the one he received initially
7    yields a term of 70 months.
8              IT IS HEREBY ORDERED that the total term of imprisonment imposed in March 2013
9    is reduced to 70 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Sanchez-Gaona shall report to the United States Probation
15   Office within seventy-two hours after his release.
16             IT IS SO ORDERED.
17   Dated: August 31, 2015
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     Stipulation and Order Re: Sentence Reduction       3
